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 1    Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
      mseltzer@susmangodfrey.com                hlanger@langergrogan.com
 2    SUSMAN GODFREY L.L.P.                     LANGER GROGAN AND DIVER PC
      1900 Avenue of the Stars, Suite 1400      1717 Arch Street, Suite 4020
 3    Los Angeles, CA 90067-6029                Philadelphia, PA 19103
      Phone: (310) 789-3100                     Tel: (215) 320-5660
 4    Fax: (310) 789-3150                       Fax: (215) 320-5703
 5    Scott Martin (Pro Hac Vice)
      smartin@hausfeld.com
 6    HAUSFELD LLP
      33 Whitehall Street, 14th Floor
 7    New York, NY 10004
      Tel: (646) 357-1100
 8    Fax: (2121) 202-4322
 9
      [Additional Counsel on Signature Page]
10
      Plaintiffs’ Co-Lead Counsel
11

12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION                      DISCOVERY MATTER
17   THIS DOCUMENT RELATES TO                  JOINT STIPULATION
     ALL ACTIONS                               REGARDING PLAINTIFFS’
18                                             MOTION TO COMPEL
                                               DISCOVERY ON THE NEW
19                                             SUNDAY TICKET AGREEMENT
20                                             Magistrate Judge: Hon. John E.
                                               McDermott
21                                             Date/Time: 5/2/2023, 10:00 a.m.
                                               Discovery Cutoff Date: 8/5/2022
22                                             Pretrial-Conference Date: 2/9/2024
                                               Trial Date: 2/22/2024
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 1            Pursuant to Fed. R. Civ. P. 37 and Local Rule 37-2, Plaintiffs and the NFL
 2   Defendants submit the following joint stipulation regarding Plaintiffs’ Motion to
 3   Compel Discovery on the New Sunday Ticket Agreement.
 4   I.       PRELIMINARY STATEMENTS
 5            A.    PLAINTIFFS’ PRELIMINARY STATEMENT
 6            On January 20, 2022, months before the August 5, 2022 fact discovery cut-off,
 7   Plaintiffs served document requests on the NFL, including Request No. 112, which
 8   requested: “All presentations, analyses, strategic planning documents, and
 9   communications regarding the current negotiations for the rights to Sunday Ticket
10   from January 1, 2021 to the present day (and continuing in nature pursuant to Rule
11   26(e)).”
12            This request sought documents that are highly relevant to Plaintiffs’ claims,
13   which directly concern the negotiation of a new contract for the rights to distribute
14   the Sunday Ticket game package. Yet the NFL refused to produce any new
15   documents responsive to that request. Nor would the NFL agree to supplement its
16   production regarding those negotiations after the new agreement was executed.
17   Plaintiffs accordingly moved the Court for an order requiring the NFL to do so. At
18   the suggestion of the Court, on September 9, 2022, Plaintiffs and the NFL submitted
19   a joint status report stating that the NFL would supplement its responses once a new
20   deal was reached, by providing documents in the possession of three NFL custodians
21   who, according to the NFL, would have all of the relevant documents regarding those
22   negotiations. The Court issued its order based on that joint status report.
23            In the meanwhile, Plaintiffs moved the Court for an order to allow discovery
24   regarding those negotiations after the discovery cut-off. On August 11, 2022, the
25   Court:
26            modifie[d] the scheduling order to allow Plaintiffs to pursue additional
              discovery relating to the following matters after the August 5, 2022 fact
27            discovery cut-off:
28                     • Document production related to NFL Defendants’ ongoing
                          negotiations with third parties for the sale of the future rights to
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 1                       NFL Sunday Ticket, as well as document and deposition
                         discovery about the new NFL Sunday Ticket agreement once
 2                       such a deal is finalized[.]
 3         On December 22, 2023, the NFL announced that it had reached a multi-billion-
 4   dollar agreement with Google to distribute Sunday Ticket to residential subscribers
 5   on YouTube TV until the year 2030. No new deal for commercial subscribers has yet
 6   been announced (or made, as far as Plaintiffs know). In the lead up to this new deal,
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14         On January 13, 2023, the NFL finally produced documents regarding the new
15   deal. The production is shockingly meager in light of the complex nature of
16   negotiations that must have taken place with multiple potential purchasers about a
17   multi-billion-dollar contract.
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24                                                                              Plaintiffs
25   therefore asked that the NFL to agree to produce the following additional documents
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 1   before they take the deposition of the NFL’s Rule 30(b)(6) witness: its
 2   communications with the five potential purchasers, its internal discussions about the
 3   negotiations, and its related communications with CBS and Fox.
 4          The NFL insists that it has fully complied with the Court’s order of September
 5   12, 2022, and that no further production will be made, even
 6           The NFL’s recalcitrance has necessitated this motion. The NFL’s argument
 7   that its discovery obligations are limited to the four corners of the order is unsound
 8   for at least three reasons. First, neither the order nor the joint status report provided
 9   that Plaintiffs’ discovery rights regarding those negotiations would be limited to what
10   the order provides. Second, Plaintiffs did not waive the right to seek additional
11   discovery of documents that relate to those negotiations or relinquish their right to
12   require the NFL to comply with its obligations under Rule 26(e). Third, the Court’s
13   order allowing discovery to be taken after the cut-off clearly entitles Plaintiff to
14   conduct additional discovery regarding those negotiations.
15         By this motion, Plaintiffs seek an order requiring the NFL to produce
16   documents called for by Document Request No. 112,
17

18         B.     THE NFL DEFENDANTS’ PRELIMINARY STATEMENT
19         Fact discovery in this case was set to close on August 5, 2022. But nine months
20   ago, Plaintiffs represented to this Court that they sought limited discovery beyond
21   that deadline regarding the new distribution deals for the NFL Sunday Ticket
22   package. During a hearing before this Court on that precise issue, Plaintiffs affirmed
23   that they were seeking discovery from just the three key decision-makers in the
24   negotiations, using a specific search term. They agreed to that approach despite
25   extensive prior discovery into the other people involved in these and other past
26   negotiations involving NFL media rights. The Court agreed to that limited proposal,
27   and Plaintiffs do not dispute that the NFL Defendants have fully complied with their
28   obligations under it by producing both the new Sunday Ticket agreement itself, and
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 1   hundreds of documents concerning the underlying negotiations with Google and
 2   other potential partners.
 3         That should be the end of the matter. But now—months after the end of fact
 4   discovery and after merits expert reports have already been served—Plaintiffs seek
 5   far more. Specifically, Plaintiffs ask for a wide-ranging custodial search from
 6   additional individuals. They provide no valid basis for that extraordinary request.
 7   Ultimately, Plaintiffs rely on just three points: (1) the allegedly low volume of
 8   documents produced in connection with the new Sunday Ticket agreement, (2) that
 9   individuals other than the three original custodians were involved in the negotiations,
10   and (3) claims about the negotiations made in unverified public reporting.
11         As to the first, the number of produced documents is greater than Plaintiffs
12   suggest and is in line with the number of documents produced regarding earlier
13   Sunday Ticket negotiations. In any event, as evident from the produced documents,
14   much of the negotiations were handled in person or telephonically, as would be
15   expected in connection with a deal of this magnitude. Plaintiffs will have the
16   opportunity to question a witness about those negotiations at a forthcoming
17   deposition.
18         Second, the fact that more than three people at the NFL were involved in
19   negotiations surrounding a multi-billion-dollar agreement is no new revelation.
20   Critically, Plaintiffs have long known that others would participate in, but not
21   exercise decisional authority over, the Sunday Ticket negotiations—including from
22   deposition testimony they elicited before first asking this Court to extend discovery
23   in the first place. The key point is that today, as then, the three custodians Plaintiffs
24   already agreed upon remain the key decision-makers for the NFL’s media deals, and
25   were involved in all critical discussions internally and externally concerning the new
26   Sunday Ticket agreement. Discovery involving new custodians would add nothing
27   material to the record.
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 1         Finally, the fact that Plaintiffs rely on unverified public reporting to support
 2   their claims in fact confirms why additional discovery is not warranted.
 3

 4                                                                   The fact that Plaintiffs
 5   ignore those documents in their motion, and do not mention them in any of their
 6   recently-filed expert reports, confirms that this is an unwarranted fishing expedition
 7   rather than an appropriate invocation of Rule 26.
 8         Ultimately, Plaintiffs’ recent dissatisfaction with the deal they struck and that
 9   this Court approved does not justify extending discovery still further, into the eighth
10   year of this litigation. The NFL Defendants have timely produced
11

12                           They will soon make a further production of documents
13   regarding negotiations concerning the commercial Sunday Ticket deal. And they will
14   also make available a Rule 30(b)(6) witness for a deposition, as the parties and Court
15   agreed. Nothing more should be required.
16   II.   DISCOVERY REQUESTS AND RESPONSES IN DISPUTE
17         Pursuant to Local Rule 37-2.1, the discovery request at issue and the NFL
18   Defendants’ response to that request are copied verbatim below.
19   REQUEST FOR PRODUCTION NO. 112:
20         All    presentations,   analyses,    strategic   planning     documents,      and
21   communications regarding the current negotiations for the rights to Sunday Ticket
22   from January 1, 2021 to the present day (and continuing in nature pursuant to Rule
23   26(e)).
24   RESPONSE TO REQUEST NO. 112:
25         In addition to their previously stated General Objections, incorporated herein,
26   the NFL specifically objects to this request as (a) overbroad and unduly burdensome
27   in its request for “[a]ll presentations, analyses, strategic planning documents, and
28   communications” regarding negotiations for the rights to the NFL Sunday Ticket
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  1   package; (b) seeking production of information that is protected from disclosure by
  2   attorney-client privilege; (c) seeking production of documents that include highly
  3   confidential and sensitive business and proprietary information; (d) duplicative of
  4   Request Nos. 7, 10, 51, and 74; and (e) seeking production of documents post-dating
  5   the previously agreed-upon end date of production.
  6          Subject to the foregoing General and Specific Objections, the NFL states that
  7   it will conduct a reasonable search, using the agreed-upon search terms on only the
  8   previously collected files of the agreed-upon League custodians, for non-privileged
  9   documents and communications that relate to negotiations concerning the licensing
 10   and carriage of the NFL Sunday Ticket package, and will produce such documents
 11   to the extent they have not already been produced.
 12   III.   PARTIES’ CONTENTIONS
 13          A.    PLAINTIFFS’ STATEMENT
 14                1.    Factual and Procedural Background
 15          This antitrust case—brought pursuant to Sections 1 and 2 of the Sherman
 16   Act—revolves around a series of interlocking agreements among and between the
 17   NFL, its 32 member Clubs, and DirecTV. See Second Consolidated Amended
 18   Complaint (“Compl.”), Dkt. No. 441 ¶¶ 1-13. These agreements work two different,
 19   but symbiotic, restraints: they prohibit all distributors other than DirecTV from
 20   offering telecasts of out-of-market Sunday afternoon NFL games, and they bar the
 21   Clubs from separately licensing their own broadcast rights. Id. ¶ 11. Together these
 22   restraints ensure that consumers who wish to watch the majority of regular season
 23   Sunday afternoon NFL games, or any out-of-market NFL game, have only one option
 24   available to them—subscribing to DirectTV’s “NFL Sunday Ticket” package. Id. ¶ 8.
 25   This purposeful restraint on competition results in supracompetitive prices for NFL
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  1   Sunday Ticket, drastically fewer games available to all consumers, and reduced
  2   innovation in broadcasting of live NFL games. Id. ¶¶ 10-12, 19.
  3         In January 2022, Plaintiffs propounded a discovery request about the then-
  4   ongoing negotiations in order to obtain evidence on the restrictions that the NFL
  5   continues to impose on the Sunday Ticket package and on the extent to which the
  6   NFL was willing to deviate from the restrictions in its agreement with DirecTV,
  7   which Plaintiffs challenge in this litigation.
  8         The NFL’s initial response was to refuse to collect any new documents, and to
  9   limit its search to files that had been collected months earlier from a narrow group of
 10   agreed-upon custodians. Given the ongoing nature of those negotiations, Plaintiffs
 11   declined to limit the search in that manner and served the NFL with a joint stipulation
 12   for a motion to compel. See Dkt. 538-1 at 8 (Sealed Joint Stipulation for Motion to
 13   Compel). Instead of opposing the motion, the NFL agreed to conduct an additional
 14   collection of documents. Id. On April 4, 2022, the parties agreed that the NFL would
 15   collect documents through that date from three custodians:
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 19                                                                               Finn Decl.
 20   ¶ 6. The parties also agreed to a narrow set of search terms that Plaintiffs proposed
 21   based on their limited knowledge of the negotiations at the time. Id. ¶ 7. The NFL
 22   produced responsive documents on May 7, 2022, as part of a larger production of
 23   2,237 documents. Id. ¶ 8.
 24         On June 15, 2022, Plaintiffs asked the NFL to supplement its production of
 25   documents responsive to RFP 112 given the continuing nature of the negotiations.
 26   Dkt. 538-1 at 8. The parties were unable to reach agreement on a production and
 27   Plaintiffs moved to compel on July 12, 2022. Dkt. 536 (Notice of Motion to Compel).
 28   This Court held a hearing on that motion on August 9, 2022, during which the Court
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  1   expressed its intent to grant the motion and ordered the parties “to meet and confer
  2   on an order for the production of documents relating to current negotiations and any
  3   ultimate agreement about the future rights to NFL Sunday Ticket.” Dkt. 599. In the
  4   ensuing meet-and-confer process, the parties agreed that the search protocol devised
  5   in April 2022 would govern the scope of the future production. See Dkt. 643 at 2
  6   (Joint Status Report Regarding the Court’s August 9 Order on Plaintiffs’ Motion to
  7   Compel Production of Documents by the NFL). Plaintiffs agreed to replicate the
  8   earlier protocol in reliance on the NFL’s representations that it accounted for all
  9   relevant custodians,
 10                                                       would be party to all relevant
 11   documents. See Finn Decl. ¶ 6.
 12         Meanwhile, on July 15, 2022, Plaintiffs moved the Court pursuant to Rule 16
 13   to take limited discovery after the August 5, 2022 fact-discovery deadline. As
 14   relevant here, Plaintiffs sought leave to “conduct discovery from the NFL Defendants
 15   and the new third-party rightsholder after an agreement is finally reached,” Dkt. 547-
 16   1 at 2, arguing that “[t]he discussions between the NFL and [the] potential
 17   [purchasers of the rights to Sunday Ticket], as well as the NFL’s internal analyses of
 18   those discussions, are fundamental to Plaintiffs’ case,” id. at 10. On August 11, 2022,
 19   before the motion to compel was decided, the Court granted Plaintiffs’ Rule 16
 20   motion in full. Dkt. 607. That order gave Plaintiffs additional time to pursue, as
 21   relevant here: “Document production related to NFL Defendants’ ongoing
 22   negotiations with third parties for the sale of the future rights to NFL Sunday Ticket,
 23   as well as document and deposition discovery about the new NFL Sunday Ticket
 24   agreement once such a deal is finalized.” Id. at 4. That Order imposed no limitation
 25   on the scope of that discovery.
 26         As to the motion to compel, this Court entered the parties’ proposed order on
 27   September 12, 2022, which required the NFL to produce documents responsive to
 28   RFP 112 “dating from April 4, 2022 to the date on which an agreement is reached
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  1   collected from the custodians agreed-upon by the parties using the electronic search
  2   terms agreed-upon by the parties,” Dkt. 645 at 2. The Order obligated the NFL to
  3   make a production within 45 days of reaching agreement for the future rights to
  4   Sunday Ticket, and to make a corporate representative available to provide testimony
  5   on those same negotiations. Id.
  6         Subsequent developments revealed the deficiencies of the prior collection
  7   protocol. Plaintiffs promptly raised these issues to the NFL in a November 4, 2022
  8   letter sent in response
  9                Finn Decl. Ex. 3 2 (November 4 letter).
 10

 11                                 This was surprising because all of the new documents
 12   were in the League’s custody and responsive to RFP 112. Plaintiffs explained to the
 13   NFL that these communications were likely omitted because the NFL had failed to
 14   collect documents from
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 19                                                 Id. ¶ 10. Plaintiffs agreed to revisit the
 20   issue of custodians when they discussed the scope of the next production. Id.
 21         Throughout November and December 2022, media outlets published stories
 22   regarding the Sunday Ticket negotiations.
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       All exhibits cited by Plaintiffs are attached to the Declaration of Tyler Finn (“Finn
      Decl.”) filed alongside this joint stipulation.
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 13         On December 22, 2022, the NFL publicly announced that it had reached an
 14   agreement with Google, granting YouTube the rights to distribute Sunday Ticket to
 15   residential subscribers from the 2023 season onward (Plaintiffs understand a deal for
 16   commercial subscribers remains ongoing). Soon thereafter, Plaintiffs wrote to the
 17   NFL to request that it immediately produce the executed agreement and supporting
 18   documents. Finn Decl. Ex. 4 (December 27 letter). The NFL refused, opting instead
 19   to produce the agreement as part of the court-ordered production, which it intended
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        Mike Florio, “Report: YouTube to pay $2.5 billion per year for Sunday Ticket,”
 27
      NBC                Sports             (December              21,            2022),
 28   https://profootballtalk.nbcsports.com/2022/12/21/report-youtube-to-pay-2-5-billion-
      per-year-for-sunday-ticket/.
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  1   to complete by January 13. Id. ¶ 13. In that same letter, Plaintiffs proposed a meet-
  2   and-confer to discuss the document-collection protocol for that production. See id.,
  3   Ex. 4. Plaintiffs requested that the NFL search the relevant custodians for the names
  4   of the bidders that were reportedly vying for residential Sunday Ticket rights:
  5                                                                       Id. ¶ 14. The NFL
  6   refused to deviate from the April 2022 search protocol despite Plaintiffs’ concerns
  7   that the previously agreed terms would fail to capture numerous responsive
  8   documents. Id.
  9         On January 13, 2023, the NFL produced documents as required by the
 10   September 12 Order. Id. ¶ 15. That production comprised only             documents, far
 11   fewer than would be expected for an eight-month negotiation process with multiple
 12   parties over a billion-dollar deal. The number drops to            when duplicates are
 13   discounted. Id. Plaintiffs promptly raised the issue in a letter dated January 18, 2023.
 14   Id. Ex. 5 (January 18 letter). That letter outlined specific categories of documents that
 15   were missing from the production, namely written communications with any third
 16   parties other than Google (and communications with Google predating December
 17   2022).
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 22                                                                                         In
 23   response to Plaintiffs’ letter, the NFL’s counsel represented that the NFL had not
 24   withheld any responsive documents and that he understood, based on a high-level
 25   understanding of the negotiation process, that the production included all relevant
 26   communications. Id. ¶ 19.
 27         Plaintiffs were skeptical about that representation. On January 31, 2023,
 28   Plaintiffs again wrote to the NFL to reiterate their concerns that “the NFL’s
                                                 11
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  1   production of January 13 contains far fewer documents than can reasonably be
  2   expected for an 8-month period of negotiation over rights worth billions of dollars.”
  3   Finn Decl. Ex. 6 (January 31 Letter). The letter again identified specific types of
  4   documents omitted from the production.
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 11                                         Id. Plaintiffs proposed that the NFL run a new
 12   set of search terms, formulated by Plaintiffs based on their review of the produced
 13   documents concerning the negotiations. These search terms are properly limited to
 14   the specific counterparties with whom the NFL was negotiating for the rights to
 15   Sunday Ticket. Plaintiffs also proposed that the NFL collect documents from
 16   additional custodians with active involvement in the day-to-day negotiations,
 17

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 19                                                   Id. ¶ 17. When the parties met-and-
 20   conferred on February 15, the NFL declined to provide a response to Plaintiffs’
 21   proposal. Id. ¶ 21. Instead, counsel for the NFL insisted that the NFL needed more
 22   specific information about the types of documents omitted. Id.
 23         On February 21, Plaintiffs wrote the NFL to highlight for a third time the types
 24   of documents missing from the production. Id. Ex. 7 (February 2023 Email
 25   Correspondence). In order to capture those documents, Plaintiffs proposed a
 26   compromise in which the NFL would run the search terms outlined in Plaintiffs’ letter
 27   of January 31 on the files of the individuals who were involved in the negotiations—
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  1   which Plaintiffs understand to be six people. Id. Receiving no response to that
  2   proposal, Plaintiffs followed up by email on February 28. Id.
  3         The parties conferred again on March 3. Although the NFL offered to run some
  4   additional search terms on the documents it had already collected, it refused to collect
  5   any new documents,
  6                                                                            Id. ¶ 23.
  7                2.     Legal Standard
  8         Pursuant to Federal Rule of Civil Procedure 37(a), a party may move for an
  9   order compelling disclosure or discovery, so long as it certifies that it “has in good
 10   faith conferred or attempted to confer with the person or party failing to make
 11   disclosure or discovery in an effort to obtain it without court action.” Rule 37
 12   specifically permits a motion to compel where “a party fails to produce documents …
 13   as requested under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B)(iv).
 14         Rule 26(e) imposes on parties a continuing obligation to supplement their
 15   responses to requests for production “in a timely manner if the party learns that in
 16   some material respect the disclosure or response is incomplete or incorrect, and if the
 17   additional or corrective information has not otherwise been made known to the other
 18   parties during the discovery process or in writing.” Fed. R. Civ. P. 26(e).
 19   “Information is ‘incomplete or incorrect’ in ‘some material respect’ if there is an
 20   objectively reasonable likelihood that the additional or corrective information could
 21   substantially affect or alter the opposing party’s discovery plan or trial preparation.”
 22   Safety PPE, LLC v. Skanda Grp. of Indus. LLC, et al. Additional Party Names:
 23   Nagendra Karri, 2023 WL 2370478, at *2 (C.D. Cal. Jan. 12, 2023). In effect, Rule
 24   26(e) operates as the “functional equivalent of a Standing Request for Production
 25   under Rule 34.” City & Cnty. of San Francisco v. Tutor-Saliba Corp., 218 F.R.D.
 26   219, 220 (N.D. Cal. 2003) (internal quotation marks omitted). Given the continuing
 27   nature of the obligation, a motion to enforce Rule 26(e)’s supplementation
 28

                                                 13
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  1   requirement may be brought after the close of discovery. See Gamevice, Inc. v.
  2   Nintendo Co., 2019 WL 5565942, at *3 (N.D. Cal. Oct. 29, 2019).
  3                3.    The Court Should Compel a Supplemental Production of the
                         Documents Concerning the Negotiations for NFL Sunday
  4
                         Ticket
  5
            The NFL premises its refusal to collect additional documents on the erroneous
  6
      position that the September 12 Order sets the ceiling for its obligations to produce
  7
      discovery on the Sunday-Ticket negotiations.5 In fact, it sets the floor. The Order, by
  8
      its own terms, governs only the one production that the NFL was required to complete
  9
      within 45 days of the execution of the New Sunday Ticket agreement. See Dkt. 645
 10
      at 2 (“This production shall comprise documents … collected by the custodians
 11
      agreed-upon by the parties using the electronic search terms agreed-upon by the
 12
      parties.). The Order does limit Plaintiffs’ discovery rights in any way. Nor does it
 13
      purport to foreclose Plaintiffs’ ability to make the kind of reasonable follow-up
 14
      requested in this motion, or to request additional discovery based on their legitimate
 15
      need for evidence about events that had not taken place when the protocol was
 16
      agreed. In short, an order granting Plaintiffs’ motion to compel cannot be read to
 17
      diminish the NFL’s obligations to provide complete responses to a validly served
 18
      discovery request. Plaintiff’s motion to compel did not preclude additional discovery
 19
      from the NFL, much less from third parties.
 20
            The NFL’s position is also inconsistent with this Court’s order allowing post-
 21
      deadline discovery on this very subject—in terms that were not limited by the
 22
      protocol agreed to in conjunction with the September 12 Order. See Dkt. 607.
 23
      Plaintiffs’ Rule 16 motion seeking leave to take additional discovery was in no way
 24
      limited by the then-pending motion to compel a production by the NFL. To the
 25
      contrary, Plaintiffs’ expressly requested leave to take “discovery from the NFL
 26
      Defendants and the new third-party rightsholder after an agreement is finally
 27

 28   5
       Plaintiffs, of course, have no way to verify that the NFL did comply with the search
      protocol and produced all documents that were responsive to that protocol.
                                                14
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  1   reached.” Dkt. 547-1 at 2 (emphasis added). Consistent with that request, the
  2   scheduling order entitles Plaintiffs to serve on the NFL additional document requests
  3   on the Sunday Ticket negotiations, which would not be subject to the April 2022
  4   protocol. In this case, promulgating additional requests for production would be
  5   unnecessary as each of the categories of documents requested in this motion is
  6   unquestionably responsive to RFP 112.
  7         The NFL’s position also contradicts its continuing obligations under Rule
  8   26(e), which are not governed by the September 12 Order. To the contrary, RFP 112
  9   entitles Plaintiffs to the documents requested in this motion independent of any prior
 10   discovery order. The omission of communications between the NFL and the third
 11   parties bidding for Sunday Ticket renders the NFL’s response to RFP 112
 12   incomplete. Such communications are plainly responsive to the request for
 13   “communications regarding the current negotiations for the rights to Sunday Ticket
 14   from January 1, 2021 to the present day (and continuing in nature pursuant to Rule
 15   26(e)).” The same is true of the NFL’s internal discussions concerning those same
 16   negotiations and its communications with                      regarding the same—
 17   additional categories of documents that were omitted from the production.
 18

 19

 20

 21

 22

 23         The missing documents are also material. The additional information gleaned
 24   from these communications—namely the reasons why the negotiations broke down
 25   with each of the bidders—will substantially affect Plaintiffs’ approach to the pending
 26   30(b)(6) deposition of an NFL witness on this very topic. Plaintiffs need these
 27   documents in order to effectively question, and adduce facts from, that NFL witness.
 28   The omitted documents are also likely to affect Plaintiffs’ presentation of evidence
                                                15
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  1   at trial and summary judgment.
  2

  3

  4                                     Discovery of the NFL’s communications with the
  5   other bidders for Sunday Ticket will likewise shed light on the NFL’s requirements
  6   as to the consumer price of that package and the anticompetitive effect of those
  7   requirements.
  8         The NFL’s duty to supplement the identified gaps in its document productions
  9   “does not depend on repeated requests by an adversary for updated information.”
 10   Allflex USA, Inc. v. Avid Identification Systems, Inc., 2009 WL 8591843, at *4 (C.D.
 11   Cal. Oct. 30, 2009). That continuing obligation is triggered whenever, as here, new
 12   information comes to light that is responsive to properly propounded discovery
 13   requests. In Apple Inc. v. Wi-LAN Inc., 2019 WL 4253833, at *3 (S.D. Cal. July 22,
 14   2019), the court granted a Rule 26(e) motion to compel production of a settlement
 15   agreement that was signed a year after the cutoff for fact discovery because that
 16   agreement was directly responsive to several requests for production previously
 17   propounded on Apple. The court similarly found that Apple was “under an ongoing
 18   duty to supplement its responses” by providing information about internal testing that
 19   Apple had conducted after it had responded to requests for production on that subject.
 20   Id. at *7. The same principle applies here. Rule 26(e) obligated the NFL to
 21   supplement its document production as the negotiations continued, even when those
 22   negotiations proceeded past the fact discovery cutoff. A prior order granting a motion
 23   to compel does not absolve the NFL of that obligation.
 24         The NFL was also obligated to supplement its initial disclosures
 25                                                                Had the NFL made that
 26   disclosure or                                  Plaintiffs would have insisted that he
 27   be included among the custodians in the production that this Court ordered on
 28   September 12, 2022. Plaintiffs were acting on incomplete information. Yet the NFL
                                                16
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  1   erroneously insists that the search protocol to which Plaintiffs agreed to resolve that
  2   motion to compel constitutes the upper limit to its discovery obligations.
  3         That protocol was based on two premises that have since proven to be false.
  4   First, Plaintiffs agreed to that protocol based on representations from the NFL that
  5   the three named individuals—                                      would be custodians
  6   of all relevant documents concerning the negotiations. That representation was false.
  7

  8

  9

 10                                   Second, Plaintiffs labored under the mistaken belief
 11   that the proposed generic search term—(“Sunday Ticket” OR NFLST) wi10
 12   (contract OR terms OR agree* OR bid OR rights OR RFP)—would adequately
 13   capture all the relevant documents.
 14

 15                  Now that Plaintiffs have information sufficient to identify the major
 16   potential purchasers of Sunday Ticket, they are able to suggest specific search terms
 17   (the names of the bidders) to supplement the previously agreed-upon generic term.
 18   Plaintiffs raised both of these issues with the NFL as soon as they became aware of
 19   them. And they did so before the NFL completed the production required by the
 20   Court order, so as to avoid burdening the NFL with making multiple productions.
 21   Yet the NFL brushed aside the evidence of the search protocol’s inadequacy and
 22   refuses to deviate from that protocol.
 23         The NFL has rejected Plaintiffs’ proposal for a modest additional collection of
 24   documents—from three additional custodians, using search terms (for all of the
 25   proposed custodians) intended to capture communications with and concerning five
 26   specific third parties:                                              That proposal is
 27   designed specifically to capture documents responsive to the RFP to which this Court
 28   compelled production and is based on information that was not available to Plaintiffs
                                                17
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  1   at the time of the September 12 Order. The discovery sought by Plaintiffs is
  2   bounded—spanning negotiations with a discrete number of parties over a limited
  3   time period that has since concluded. Granting the relief sought by Plaintiffs thus
  4   presents no danger of creating “never-ending discovery obligations or continuous
  5   rolling discovery.” Moriarty v. Am. Gen. Life Ins. Co., 2021 WL 6197289, at *4 (S.D.
  6   Cal. Dec. 31, 2021) (denying motion to compel based on boundless nature of
  7   discovery sought).
  8         Plaintiffs’ request also imposes no undue burden on the NFL. The NFL can
  9   locate the documents requested by running a limited search of search terms on the
 10   files of six custodians who played active roles in the negotiations. The NFL has
 11   already collected documents from three such individuals:
 12

 13         Although this motion concerns discussions related to a future agreement on
 14   Sunday Ticket, those discussions are clearly relevant to issues in this case, including
 15   the anticompetitive effect and supracompetitive prices of Sunday Ticket under the
 16   challenged agreements with DirecTV, the NFL’s role in setting those prices, and the
 17   prices that would exist but for the challenged restraints. Moreover, the continuing
 18   nature of the challenged restraints makes the new agreement relevant to the issue of
 19   injunctive relief, as the Court recently recognized in certifying an injunctive relief
 20   class pursuant to Rule 23(b)(2). See Dkt. No. 894 at 21. Given their relevance, the
 21   NFL is required to produce the responsive documents that it has omitted from its
 22   prior productions:
 23                     its internal discussions of those negotiations, and its communications
 24                         regarding the same. Rule 26 demands that result.
 25                4.       Conclusion
 26         Based upon the foregoing, Plaintiffs respectfully request that the Court compel
 27   the NFL Defendants to produce its communications, both internal and external,
 28

                                                  18
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  1   concerning the negotiations with                                             , as well
  2   as its communications with                regarding those negotiations.
  3         B.     THE NFL DEFENDANTS’ STATEMENT
  4         Eight months after the close of fact discovery, and seven months after the
  5   parties and this Court agreed on the protocol that would govern further productions
  6   regarding the negotiations for future Sunday Ticket rights, Plaintiffs ask this Court
  7   to permit another, broader fishing expedition. Plaintiffs do not dispute that the NFL
  8   Defendants’ prior productions fully complied with the agreed-upon discovery
  9   protocol, and fail to justify imposing the burdensome procedures they now seek.
 10   Accordingly, their request should be denied.
 11                1. Factual and Procedural Background
 12         On January 12, 2021, the Court set forth the schedule in this case and
 13   established a March 22, 2022 deadline for the parties to complete fact discovery.
 14   Finn Ex. 1, at 1. Pursuant to Chief Judge Gutierrez’s standing order, this deadline
 15   was intended as the “cut-off date . . . by which all discovery is to be completed” in
 16   this case. Declaration of Jeremy S. Barber in Support of the NFL Defendants’
 17   Opposition to Plaintiffs’ Motion to Compel (“Barber Decl.”), Ex. 1, at 2; see also
 18   Barber Ex. 2 (Dkt. 435), at 2.
 19         After Plaintiffs served their first set of discovery requests, the parties spent
 20   months negotiating the proper scope of discovery, including the number of
 21   custodians from which the NFL Defendants would collect documents and the search
 22   terms that would be used. Barber Decl. ¶ 4. In the end, the parties reached an
 23   agreement under which the NFL Defendants would collect custodial files from
 24                                              would apply a lengthy set of negotiated
 25   search terms. Id. The extensive negotiations included determination of the end date
 26   that would apply to custodial collections; the parties agreed in May 2021 that the
 27

 28   6
       On a separate track, the parties also negotiated the scope of discovery from the NFL
      Clubs, which increased the total number of custodians by
                                               19
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  1   NFL Defendants would make a single collection of documents in response to then-
  2   pending requests. Id.
  3         The deadline for fact discovery has been postponed twice, on both occasions
  4   because Plaintiffs claimed to need more time to review and analyze produced
  5   documents prior to conducting fact depositions in this case. See Barber Ex. 3 (Dkt.
  6   362), at 3; Barber Ex. 4 (Dkt. 423-1), at 7. On both occasions, Plaintiffs agreed the
  7   cutoff date for serving discovery requests would not change as a result of the
  8   extension of fact discovery, and that February 22, 2022 would remain that deadline
  9   as consistent with the original scheduling order. Barber Decl. ¶¶ 5–6; Barber Ex. 3
 10   (Dkt. 362), at 3; Barber Ex. 4 (Dkt. 423-1), at 7 n.3. Ultimately, the deadline for fact
 11   discovery was set for August 5, 2022, around 9 months prior to the hearing date for
 12   the instant motion. See Barber Ex. 5 (Dkt. 434), at 5.
 13         All told, the Plaintiffs ultimately served 161 different requests for production
 14   of documents from the NFL Defendants. Barber Decl. ¶ 8. Prior to the deadline for
 15   fact discovery, the NFL Defendants produced
 16                               in response to these requests. Id. Included in an early set
 17   of document requests was a request for documents related to negotiations for the NFL
 18   Sunday Ticket package, which covered ongoing negotiations for the future rights to
 19   Sunday Ticket as well. Id. ¶ 9 (quoting RFP No. 51). In response, the NFL
 20   Defendants have produced many documents related to the negotiations for the future
 21   rights for Sunday Ticket,
 22          Id.
 23         In order to circumvent the parties’ prior agreement that the NFL Defendants
 24   would only be obligated to collect documents through May 2021 for most discovery
 25   requests, Plaintiffs served a new request on January 20, 2022, yet again seeking
 26   production of documents in connection with negotiations for the rights to the Sunday
 27   Ticket package. See id. ¶ 10 (quoting RFP No. 112). This time, the request was
 28   focused solely on documents related to those negotiations from January 1, 2021
                                                 20
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  1   onward. See id. In April 2022, after several weeks of negotiations and meet-and-
  2   confers regarding the appropriate scope of discovery in response to that request,
  3   Plaintiffs agreed that the NFL Defendants would collect custodial files
  4

  5

  6                                                  See id. ¶ 11. During these discussions,
  7   Plaintiffs knew others at the NFL would be involved in negotiations, including two
  8   of the individuals they now seek to become custodians. See id. ¶¶ 9, 26. But,
  9   Plaintiffs agreed to limit discovery
 10

 11                                                                     Id. ¶ 11. The NFL
 12   Defendants agreed to use a search term proposed by Plaintiff without any
 13   modification. See id.
 14         In light of upcoming depositions, the NFL Defendants moved quickly and
 15   produced numerous documents responsive to RFP No. 112 as part of a
 16   document production on May 7, 2022. See id. ¶ 12. Plaintiffs raised no concerns
 17   with the scope or volume of that production. Id. In the following months, Plaintiffs
 18   conducted      depositions of former and current NFL employees, including those
 19   involved in negotiations of past and current Sunday Ticket agreements. Id. ¶ 13.
 20   During those depositions, Plaintiffs learned additional information regarding those
 21   third parties who had expressed interest in the future rights to the Sunday Ticket
 22   package,
 23               See id.
 24         On June 15, 2022, Plaintiffs made further demands for additional documents
 25   regarding the ongoing negotiations for the future rights to Sunday Ticket. See id.
 26   ¶ 15. Specifically, Plaintiffs insisted on numerous additional productions well after
 27   the fact discovery deadline, including some in the midst of on-going negotiations.
 28   See id. Plaintiffs did not, despite receiving documents reflecting others’ involvement
                                                21
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  1   in the then-ongoing negotiations, request additional custodians from whom to collect
  2   documents. See id. The parties met and conferred several more times on this issue,
  3   with the NFL Defendants proposing multiple compromises including the production
  4   of a limited set of responsive documents after any new Sunday Ticket agreement was
  5   announced. Id. Plaintiffs rejected these offers and ultimately filed a motion to
  6   compel before this Court. See id.
  7         A few days later, Plaintiffs also filed a motion before Chief Judge Gutierrez to
  8   modify the scheduling order to permit discovery after the fact discovery deadline “for
  9   three discrete purposes,” including to “continue taking discovery of ongoing
 10   negotiations for the sale of the rights to Sunday Ticket.” See id. ¶ 16; Barber Ex. 6
 11   (Dkt. 555-1), at 1. In support of this motion, Plaintiffs repeatedly reassured the Court
 12   that their requested relief was limited in nature. See Barber Ex. 6 (Dkt. 555-1), at 1
 13   (requesting the Court to “grant the modest relief”); id. at 2 (“Plaintiffs request
 14   permission to take limited document and deposition discovery about the new
 15   agreement after August 5.”); id. at 13 (“Plaintiffs’ request for supplementary
 16   document productions in this area is modest and bounded.”).
 17         Chief Judge Gutierrez granted Plaintiffs’ motion and modified the schedule to
 18   allow Plaintiffs to pursue additional fact discovery related to ongoing negotiations
 19   for the rights to Sunday Ticket. Barber Decl. ¶ 17; Barber Ex. 7 (Dkt. 607), at 4. In
 20   granting this motion, Chief Judge Gutierrez made clear that the Court was “merely
 21   extend[ing] the time in which Plaintiffs may seek additional discovery related to these
 22   matters,” and was “not express[ing] any opinion as to the merits of Plaintiffs’ pending
 23   motion to compel related to the NFL Sunday Ticket negotiations and deal.” Barber
 24   Ex. 7 (Dkt. 607), at 3 (emphasis added).
 25         By the time of the hearing on Plaintiffs’ motion to compel before this Court on
 26   August 9, 2022, Plaintiffs had obtained numerous documents about the ongoing
 27   negotiations for the future rights to the Sunday Ticket package, and had deposed
 28   multiple individuals involved in those negotiations. See Barber Decl. ¶¶ 9, 13, 25.
                                                 22
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  1   They well knew that multiple individuals at the NFL were party to discussions both
  2   internally and with third parties concerning Sunday Ticket rights. Yet at the hearing,
  3   when asked by the Court for confirmation that Plaintiffs were only seeking collection
  4   of three custodial files, Plaintiffs’ counsel represented as follows:
  5
            In the past Plaintiffs and the NFL have agreed to search the custodians
  6         of – three NFL custodians under agreed upon search terms and Plaintiffs
            would agree to having that protocol govern the scope of any future
  7
            productions as well.
  8

  9
      Barber Ex. 8 (Dkt. 613), at 10:7–11 (emphasis added). This Court ultimately ordered

 10
      the parties to engage in further meet and confers and to submit a joint status report

 11
      indicating whether an agreement on the scope of future productions had been

 12
      reached. Barber Decl. ¶ 19; Barber Ex. 9 (Dkt. 599).

 13
            During those subsequent meet-and-confer efforts, as memorialized the parties’

 14
      Joint Status Report filed on September 9, 2022, Plaintiffs explicitly agreed that the

 15
      NFL Defendants would only be required to produce additional documents “from the

 16
      same custodians using the same agreed-upon search terms to which the parties

 17
      agreed for the NFL’s May 7, 2022 production.” Barber Ex. 10 (Dkt. 643), at 2

 18
      (emphasis added). On September 12, 2022, this Court entered an order endorsing

 19
      that agreement. See Barber Decl. ¶ 21; Barber Ex. 11 (Dkt. 645), at 2 (requiring the

 20
      production, within 45 days of any agreement, “compris[ing] documents . . . collected

 21
      from the custodians agreed-upon by the parties using the electronic search terms

 22
      agreed-upon by the parties.” (emphasis added)).

 23
            A few months later, Plaintiffs sent the NFL Defendants a letter identifying

 24
      what they believed to be deficiencies in the NFL’s prior production of documents in

 25
      response to RFP No. 112

 26
                                     Finn Ex. 3. Plaintiffs claimed incorrectly that the NFL

 27
      Defendants had not produced communications

 28

                                                 23
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  1

  2                                                     Barber Decl. ¶ 22. The remaining
  3   documents that
  4

  5                                                        . Id. During a meet-and-confer on
  6   November 14, 2022, the NFL Defendants explained the many inaccuracies in
  7   Plaintiffs’ letter and understood Plaintiffs to have dropped the issue. Id. Plaintiffs’
  8   counsel did, however,
  9                                          Id.
 10         On December 22, 2022, the NFL and Google announced an agreement
 11   granting YouTube TV the right to distribute the residential Sunday Ticket package
 12   starting during the 2023 NFL season. 7 Id. ¶ 24. In accordance with the parties’
 13   agreement and the Court’s September 12, 2022 Order, the NFL Defendants collected
 14   custodial files from the parties’ three agreed-upon custodians and produced
 15   responsive documents that hit on the search term agreed upon by the parties on
 16   January 13, 2023. Id. This production was made 23 days earlier than the 45-day
 17   deadline imposed by the Court, and five weeks in advance of the deadline for
 18   Plaintiffs’ opening merits expert reports. See id.
 19         Plaintiffs have since acknowledged on multiple occasions that the NFL
 20   Defendants fully complied with this Court’s September 12, 2022 Order. See id. ¶ 29.
 21   Yet they now seek more, based on unfounded speculation that the NFL Defendants’
 22   production was underinclusive. On January 31, 2023, Plaintiffs demanded that the
 23   NFL Defendants collect additional custodial files from three additional NFL
 24   employees and use, for the first time, extremely over-inclusive search terms on all
 25

 26   7
        On March 28, 2023, the NFL announced that it had reached an agreement for rights
      to the commercial Sunday Ticket package. Barber Decl. ¶ 30. The NFL Defendants
 27
      will produce responsive documents concerning the commercial Sunday Ticket
 28   agreement within 45 days of that agreement’s execution, in accordance with the
      parties’ prior agreement and the Court’s September 2022 order.
                                                   24
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  1   collected custodial files that include, for example,
  2                      See id. ¶ 27; Finn Ex. 6, at 5–6. In the ensuing weeks, the parties
  3   met and conferred on multiple occasions in an attempt to bridge their differences.
  4   Barber Decl. ¶ 29. The NFL Defendants suggested, for instance, running additional
  5   search terms across the custodial files already collected from
  6                                         id. Plaintiffs squarely rejected that proposal, as
  7   well as any attempt to reach a negotiated resolution of the issue. See id.
  8                  2. Legal Standard
  9         The right to obtain discovery under Rule 26 “is not unlimited.” Epstein v.
 10   MCA, Inc., 54 F.3d 1422, 1423 (9th Cir. 1995). It must have “ultimate and necessary
 11   boundaries.” Pimentel v. City of Stockton, 2018 WL 4488548, at *3 (E.D. Cal. Sept.
 12   19, 2018) (quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947)). One such
 13   boundary is that Rule 26 requires requests to be both relevant and proportional to the
 14   case, meaning that discovery “must be narrowly tailored . . . and must not be a fishing
 15   expedition.” Cheng v. Aim Sports, Inc., 2011 WL 13201907, at *2 (C.D. Cal. 2011)
 16   (citing Zewdu v. Citigroup Long Term Disability Plan, 264 F.R.D. 622, 626 (N.D.
 17   Cal. 2010)).
 18         “At all times, the burden rests with the party seeking to compel additional
 19   discovery to bring forth evidence that warrants supplementation.” Moriarty v. Am.
 20   Gen. Life Ins. Co., 2021 WL 6197289, at *4 (S.D. Cal. Dec. 31, 2021) (citing
 21   Campos-Eibeck v. C R Bard Inc., 2020 WL 835305, at *5 (S.D. Cal. Feb. 20, 2020)).
 22   In their request for supplementation under Rule 26(e), Plaintiffs must show: (1) that
 23   the information previously provided was incomplete or incorrect in some material
 24   respect, (2) that additional information has not “been made known to the other part[y]
 25   during the discovery process or in writing,” and (3) that the relevance of the
 26   information outweighs the burden involved.        See Fed. R. Civ. P. 26(e)(1)(A).
 27   “[I]nformation is ‘incomplete or incorrect’ in ‘some material respect’ if there is an
 28   objectively reasonable likelihood that the additional or corrective information could
                                                25
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  1   substantially affect or alter the opposing party’s discovery plan or trial preparation.”
  2   L.A. Terminals, Inc. v. United Nat. Ins. Co., 340 F.R.D. 390, 396 (C.D. Cal. 2022)
  3   (quoting Sender v. Mann, 225 F.R.D. 645, 654 (D. Colo. 2004)).
  4         And where the parties have agreed to a discovery protocol, Plaintiffs must
  5   demonstrate a deficiency in productions to justify imposing additional burdens
  6   through modification of that protocol. See Terpin v. AT&T, Inc., 2022 WL 3013153,
  7   at *6 (C.D. Cal. Jun. 13, 2022) (“In the absence of a demonstrated deficiency, this
  8   Court concludes that Plaintiff'’ speculation about possible deficiencies in
  9   Defendant’s search procedures do not support an order compelling AT&T to produce
 10   discovery based upon new search terms after it has produced a large volume of
 11   documents and largely completed its production.”); In re Nat. Ass’n of Music
 12   Merchants, 2011 WL 6372826, at *2–3 (S.D. Cal. Dec. 19, 2011) (describing key
 13   word searching as an efficient way to “winnow relevant documents from large
 14   repositories,” and explaining that “in light of the transparent discussion among
 15   counsel of the search terminology and subsequent agreement on the search method,
 16   the Court finds it unreasonable for Defendant to re-search documents they have
 17   already searched and produced”).
 18                3. The Court Should Deny Plaintiffs’ Expansive Request for
 19                   Additional Discovery
 20         Plaintiffs do not dispute that the NFL Defendants have complied with their
 21   discovery obligations established during the fact discovery period in this case. They
 22   provide no basis for ordering more.
 23                     i.      The NFL Defendants’ prior productions were not
                                incomplete or incorrect in any material respect.
 24

 25         As the party seeking to compel production, Plaintiffs have the burden of
 26   establishing that any additional production is necessary.        Moriarty, 2021 WL
 27   6197289, at *4. They can do so only if they demonstrate that prior productions were
 28   “incomplete or incorrect” in “some material respect”—that is, “there is an objectively

                                                 26
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  1   reasonable likelihood that the additional or corrective information could substantially
  2   affect or alter [their] discovery plan or trial preparation.” L.A. Terminals, Inc., 340
  3   F.R.D. at 396 (quoting Sender, 225 F.R.D. at 654). Plaintiffs have failed to establish
  4   that the NFL Defendants’ prior productions regarding the negotiations for the future
  5   rights to the NFL Sunday Ticket package were incomplete or incorrect in any
  6   material way.
  7         As an initial matter, it is important to understand the full scope of what has
  8   been produced. Plaintiffs complain about the volume of documents produced in
  9   response to RFP No. 112, but the       -document figure they cite vastly understates
 10   the number of documents regarding the new Sunday Ticket agreement that the NFL
 11   Defendants have produced, including hundreds in earlier productions. To date,
 12   Plaintiffs have received information including:
 13         • The agreement itself between the NFL and Google regarding the rights to
 14             the residential NFL Sunday Ticket package;
 15         • Proposals from third parties
 16             regarding the rights for the NFL Sunday Ticket package;
 17         •
 18

 19

 20         • Internal discussions within the NFL regarding proposals for the NFL
 21             Sunday Ticket package; and
 22         • Analyses conducted by the NFL and third parties regarding the future rights
 23             to the NFL Sunday Ticket package.
 24   Barber Decl. ¶ 25.
 25         Nonetheless, Plaintiffs claim that other critical documents are missing from
 26   the NFL’s productions.      But none of their assertions establish that the NFL
 27   Defendants’ prior productions were incorrect or incomplete in any regard.
 28         First, Plaintiffs’ surprise at the volume of a production is not a standard by
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  1   which to assess the sufficiency of the NFL Defendants’ production of documents.
  2   And ultimately, regardless of what Plaintiffs say their expectations are today, the
  3   documents that the NFL Defendants have produced in response to RFP No. 112
  4   reflect the key aspects of the recent negotiations, consistent with what Plaintiffs’
  5   proposed search term was intended to cover, and an approach to past productions
  6   about which Plaintiffs have never lodged a plausible complaint.
  7         Second, Plaintiffs’ reliance on the absence of documents reflecting
  8   communications with certain third parties is unavailing. The documents they cite to
  9   support this claim make clear that the vast majority of key discussions were held in
 10   person or by phone, as would be expected for negotiations of this scope. 8 For
 11   example, Plaintiffs complain they did not receive sufficient documents
 12

 13

 14                                                                            Barber Decl.
 15   ¶ 26. And of course, Plaintiffs will have an opportunity to ask questions about these
 16   discussions at the upcoming 30(b)(6) deposition.
 17         Third, while it is undoubtedly true that individuals
 18                                              may have had direct communications with
 19   third parties, Plaintiffs have always known that. See supra at 20–21 (describing
 20   Plaintiffs’ agreement that
 21

 22                                                                The produced documents
 23   make clear that these three individuals indeed were the key decision-makers in the
 24   current negotiations. Barber Decl. ¶ 26.
 25

 26
      8
       Numerous documents the NFL Defendants produced consist of communications
 27
      between the NFL and third parties to schedule phone calls, video calls, or in-person
 28   meetings, or internal updates from NFL employees regarding non-email
      conversations they had with third parties. Barber Decl. ¶ 26.
                                                 28
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  5                                                                See id.
  6         Fourth, Plaintiffs offer the beside-the-point assertion that the NFL Defendants
  7   were obligated to update their initial disclosures in August 2022 when
  8

  9   See supra, at 16. Plaintiffs are incorrect. Under Rule 26(a), parties have a duty to
 10   provide disclosures regarding the identity of individuals “likely to have discoverable
 11   information . . . that the disclosing party may use to support its claims or defenses.”
 12   Fed. R. Civ. P. 26(a)(1)(A)(i).
 13

 14

 15

 16                                                                                      See
 17   Barber Decl. ¶ 14.     Moreover, Plaintiffs overstate his importance to the recent
 18   negotiations; while he did have direct communications with certain parties who
 19   negotiated for the future rights to Sunday Ticket, he consistently communicated with
 20   his supervisors at the NFL about those discussions and deferred to their decision-
 21   making authority. See id. ¶ 26. Those communications have been produced. See id.
 22         Finally, Plaintiffs rely on public reporting about Sunday Ticket negotiations,
 23   referencing an
 24

 25   See supra, at 9–10, 16. But it is unclear why Plaintiffs choose to credit unverified,
 26   unsourced public reporting
 27                                                             In particular, documents the
 28   NFL Defendants have produced to Plaintiffs suggest numerous reasons,
                                                29
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  1

  2   Barber Decl. ¶ 26.
  3                                            See id. Unverified speculation provides no
  4   grounds for insisting on further production. See Hubbard v. Potter, 247 F.R.D. 27,
  5   29 (D. D.C. 2008) (“Speculation that there is more will not suffice; if theoretical
  6   possibility that more documents exist sufficed to justify additional discovery,
  7   discovery would never end.”); Kendle v. Whig Enterprises, LLC, 2016 WL 898569,
  8   at *4 (S.D. Ohio 2016) (denying a motion to compel made “on the basis of a mere
  9   suspicion that the producing party possesses additional information”). And as to the
 10

 11

 12

 13                                              See Barber Decl. ¶ 25.
 14         The case on which Plaintiffs rely, Apple Inc. v. Wi-LAN, Inc., 2019 WL
 15   4253833 (S.D. Cal. July 22, 2019), is instructive. There, the court compelled
 16   production of Apple’s new licensing agreement, as well as internal testing
 17   documents, only because the moving party pointed to specific material deficiencies
 18   in Apple’s productions that could be supplemented through limited non-custodial
 19   discover that “impose[d] little to no burden on Apple.” Id. at *5–6. Here, in contrast,
 20   the NFL Defendants have already produced the relevant agreement, in addition to
 21   documents and communications from the key decision-makers behind that
 22   agreement. Without identifying any material deficiencies that render the production
 23   incomplete or incorrect in any material respect, Plaintiffs are not entitled to further
 24   supplementation.
 25                      ii.    Plaintiffs should not be permitted to impose additional
                                burdensome discovery obligations on the NFL
 26
                                Defendants well after the close of fact discovery.
 27
            Eight months following the close of fact discovery, Plaintiffs seek to impose
 28
      discovery obligations on the NFL Defendants beyond what the parties and the Court
                                                30
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  1   agreed were appropriate during the fact discovery period.           These requests are
  2   unreasonably burdensome.
  3         As an initial matter, it is important to note that Plaintiffs have provided no
  4   reason to think these documents are actually important to “[their] discovery plan or
  5   trial preparation.” L.A. Terminals, Inc., 340 F.R.D. at 396 (quoting Sender, 225
  6   F.R.D. at 654). Plaintiffs recently served their merits expert reports on February 17,
  7   2023, none of which reference any of the hundreds of documents the NFL produced
  8   in connection with recent negotiations, apart from the agreement itself. 9        Barber
  9   Decl. ¶ 30. That is not surprising given that Plaintiffs’ complaint attacks the NFL’s
 10   agreements with DIRECTV on behalf of a class of DIRECTV subscribers during a
 11   class period ending on February 7, 2023, well before the new agreement with Google
 12   becomes operative. The absence of these documents in Plaintiffs’ expert reports
 13   likewise belies any claim that discovery regarding the new Sunday Ticket deal is
 14   necessary because it would reflect options that the NFL could have chosen in the
 15   past. If Plaintiffs wanted to make that argument, they would—but they haven’t. And
 16   that is not surprising: there was a markedly different broadcasting ecosystem in 2014
 17   when the currently operative Sunday Ticket agreement was negotiated. YouTube
 18   TV did not even exist at the time.
 19         The apparent irrelevance of these documents magnifies the unreasonable
 20   burdens Plaintiffs seek to place on the NFL Defendants—burdens that go far beyond
 21   anything that has previously been contemplated.
 22         First, Plaintiffs request collection of documents from three new custodians:
 23                                                           See supra, at 17.10 They thus
 24
      9
         The parties also agreed that, if the NFL Defendants made its post-agreement
 25
      production of documents responsive to RFP No. 112 before January 13, 2023, would
 26   be expected to incorporate those into the merits reports without the need for later
      supplementation. Barber Ex. 12 (Dkt. 735), at 2.
 27   10
         Plaintiffs’ proposed order seeks relief far broader than discussed in the instant joint
 28   stipulation. Plaintiffs’ proposed order, as written, would require the NFL to collect
      and review custodial files from “all NFL employees who were party to []
                                                  31
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  1   request to double the number of custodians whose documents the NFL Defendants
  2   must collect and review, despite the reality that these additional individuals whose
  3   custodial files they now seek are far less central to the decision-making process than
  4   the three custodians who were involved in all critical aspects of the Sunday Ticket
  5   negotiations and whose documents have already been produced. There is no valid
  6   basis to suggest that review of custodial files from
  7

  8                                   and thus this request is not proportional to the needs
  9   of this case.
 10          Second, Plaintiffs request an additional document review process vastly more
 11   extensive than the parties’ prior agreement. Their claim that the NFL need only run
 12   “a limited search of search terms,” supra at 18, vastly undersells the burden
 13   associated with their requests. Plaintiffs’ newly proposed search terms include
 14   phrases as general as                    that will undoubtedly sweep in thousands of
 15   patently irrelevant documents that counsel for the NFL must review for
 16   responsiveness. See Barber Decl. ¶ 27; Finn Ex. 6, at 5–6. These search terms would
 17   hit on, for instance, all communications with third parties 11 concerning matters
 18   unrelated to Sunday Ticket, as well every calendar invitation or Google alert that
 19   each custodian received during the relevant time period. Barber Decl. ¶ 27. Such a
 20
      communications”      with   third   parties
 21
                                             Proposed Order, at 1.
 22
      11
         It is also unclear to the NFL Defendants why Plaintiffs request production of
      documents reflecting the NFL’s communications with                    concerning the
 23
      Sunday Ticket agreement, or what exact relief they seek with respect to identifying
 24   any such documents. If they request simply that the NFL Defendants include
      communications with                        the recent Sunday Ticket agreement as part
 25
      of their productions responsive to RFP No. 112, those documents would already have
 26   been produced if they hit on the agreed-upon search terms. If Plaintiffs seek a
      separate protocol to specifically capture communications with
 27

 28               they cannot do so for the first time in the instant motion without having
      satisfied the meet-and-confer requirements of Local Rule 37-1.
                                                32
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  1   burden is unnecessary and unwarranted. See Briggs v. Cnty. of Maricopa, 2021 WL
  2   1725553, at *2 (D. Ariz. Apr. 30, 2021) (declining to order additional search terms
  3   where “the parties previously agreed to a list of terms”).
  4         Finally, requesting additional discovery at this juncture in the case presents
  5   challenges to both the parties and the Court. Despite receiving the post-agreement
  6   production on January 13, 2023, Plaintiffs did not serve the instant motion until less
  7   than a month before the NFL Defendants’ merits experts reports were due, see Finn
  8   Ex. 2, at 2. Now, an additional collection and review of documents—particularly
  9   using Plaintiffs’ over-inclusive proposed search procedures—from three additional
 10   custodians would not be completed until after the parties’ merits expert reports are
 11   fully submitted. To the extent Plaintiffs’ experts intend to rely on documents from
 12   that future production and supplement their expert reports, they cannot do so without
 13   impacting subsequent case deadlines, including for summary judgment and the trial
 14   date the Court set over two years ago. In the interest of finality and case management
 15   for a case that initiated nearly 8 years ago, discovery must end at some point. See
 16   Finalrod IP, LLC v. John Crane, Inc., 2019 WL 2563840, at *3 (W.D. Tex. Mar. 22,
 17   2019) (“[T]he broad scope of discovery may not be used as a license to engage in an
 18   unwieldy, burdensome, and speculative fishing expedition. At some point, the parties
 19   must set aside their suspicions and discovery must end.”).
 20         Failing to justify their requests for this additional discovery, Plaintiffs take the
 21   puzzling position that Chief Judge Gutierrez’s modifications to the scheduling order
 22   granted Plaintiffs leave to make these requests. See supra, at 14–15. But nowhere
 23   in Chief Judge Gutierrez’s order did he suggest that Plaintiffs may serve additional
 24   document requests, the deadline for which—pursuant to the Court’s original
 25   scheduling order and the parties’ subsequent agreement—was February 22, 2022,
 26   and remained unchanged by subsequent scheduling orders. See Barber Decl. ¶¶ 5–6;
 27   Barber Ex. 3 (Dkt. 362), at 3; Barber Ex. 4 (Dkt. 423-1), at 7 n.3; Barber Ex. 5 (Dkt.
 28   434); Finn Ex. 2 (Dkt. 886). Indeed, when granting Plaintiffs’ request for limited
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  1   discovery after the fact discovery deadline—after Plaintiffs’ numerous reassurances
  2   in their briefing that their requested relief was modest—Chief Judge Gutierrez
  3   explicitly declined to express a position as to the merits of any such additional
  4   discovery. See Barber Ex. 7 (Dkt. 607), at 3–4.
  5         In seeking further documents eight months after the end of fact discovery, it is
  6   Plaintiffs’ burden to establish that such discovery is warranted, see Moriarty, 2021
  7   WL 6197289, at *4, but they have failed to do so. Their instant demands are far more
  8   burdensome than what the parties long ago agreed to, and what this Court ordered in
  9   September 2022. Without establishing that this expansive relief is appropriate at all,
 10   let alone eight months after the fact discovery cutoff, particularly given the damage
 11   it threatens to the larger case schedule, Plaintiffs’ requested relief must be denied.
 12                4. Conclusion
 13         The parties, and the Court, have long agreed on the scope of the NFL
 14   Defendants’ discovery obligations regarding RFP No. 112, and Plaintiffs have
 15   repeatedly reassured the Court that they were not seeking more. The NFL Defendants
 16   have fully complied with their discovery obligations and produced responsive
 17   documents using the agreed-upon protocol from the key decision-makers in the
 18   Sunday Ticket negotiations. Now, though they ask for more, Plaintiffs fail to
 19   establish that the NFL’s productions were incorrect or incomplete in any material
 20   respect. The Court should deny Plaintiffs’ request for such expansive relief.
 21

 22   Dated: April 4, 2023                             Respectfully submitted,
 23
                                              By:      /s/ Marc M. Seltzer
 24
                                                       Marc M. Seltzer
 25
                                                      Marc M. Seltzer (54534)
 26                                                   mseltzer@susmangodfrey.com
                                                      SUSMAN GODFREY L.L.P.
 27                                                   1900 Avenue of the Stars, Suite 1400
                                                      Los Angeles, CA 90067
 28                                                   Tel: (310) 789-3100
                                                      Fax: (310) 789-3150
                                                 34
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  1                                             William C. Carmody (Pro Hac Vice)
                                                bcarmody@susmangodfrey.com
  2                                             Seth Ard (Pro Hac Vice)
                                                sard@susmangodfrey.com
  3                                             Tyler Finn (Pro Hac Vice)
                                                tfinn@susmangodfrey.com
  4                                             SUSMAN GODFREY L.L.P
                                                1301 Avenue of the Americas, 32nd Fl.
  5                                             New York, NY 10019
                                                Tel: (212) 336-8330
  6                                             Fax: (212) 336-8340
  7                                             Ian M. Gore (Pro Hac Vice)
                                                igore@susmangodfrey.com
  8                                             SUSMAN GODFREY L.L.P.
                                                1201 Third Avenue, Suite 3800
  9                                             Seattle, WA 98101
                                                Tel: (206) 505-3841
 10                                             Fax: (206) 516-3883
 11                                             Armstead Lewis (Pro Hac Vice)
                                                alewis@susmangodfrey.com
 12                                             SUSMAN GODFREY L.L.P.
                                                1000 Louisiana, Suite 5100
 13                                             Houston, TX 77002
                                                Tel: (713) 651-9366
 14                                             Fax: (713) 654-6666
 15                                             Scott Martin (Pro Hac Vice)
                                                smartin@hausfeld.com
 16                                             HAUSFELD LLP
                                                33 Whitehall Street, 14th Floor
 17                                             New York, NY 10004
                                                Tel: (646) 357-1100
 18                                             Fax: (212) 202-4322
 19                                             Christopher L. Lebsock (184546)
                                                clebsock@hausfled.com
 20                                             HAUSFELD LLP
                                                600 Montgomery St., Suite 3200
 21                                             San Francisco, CA 94111
                                                Tel: (415) 633-1908
 22                                             Fax: (415) 633-4980
 23                                             Farhad Mirzadeh (Pro Hac Vice)
                                                fmirzadeh@hausfeld.com
 24                                             HAUSFELD LLP
                                                888 16th Street, N.W., Suite 300
 25                                             Washington, DC 20006
                                                Tel: (202) 540-7200
 26                                             Fax: (202) 540-7201
 27                                             Howard Langer (Pro Hac Vice)
                                                hlanger@langergrogan.com
 28                                             Edward Diver (Pro Hac Vice)
                                           35
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  1
                                                ndiver@langergrogan.com
                                                Peter Leckman (235721)
  2
                                                pleckman@langergrogan.com
                                                Kevin Trainer (Pro Hac Vice)
  3
                                                ktrainer@langergrogan.com
                                                LANGER GROGAN AND DIVER PC
  4
                                                1717 Arch Street, Suite 4020
                                                Philadelphia, PA 19103
  5
                                                Tel: (215) 320-5660
                                                Fax: (215) 320-5703
  6
                                                Plaintiffs’ Co-Lead Counsel
  7

  8
                                        /s/ Jeremy S. Barber
  9                                     Beth A. Wilkinson (admitted pro hac vice)
 10
                                        Brian L. Stekloff (admitted pro hac vice)
                                        Rakesh N. Kilaru (admitted pro hac vice)
 11                                     Jeremy S. Barber (admitted pro hac vice)
                                        WILKINSON STEKLOFF LLP
 12                                     2001 M Street NW, 10th Floor
                                        Washington, DC 20036
 13                                     Telephone: (202) 847-4000
 14                                     Facsimile: (202) 847-4005
                                        bwilkinson@wilkinsonstekloff.com
 15                                     bstekloff@wilkinsonstekloff.com
                                        rkilaru@wilkinsonstekloff.com
 16                                     jbarber@wilkinsonstekloff.com
 17
                                        Neema T. Sahni (Bar No. 274240)
 18                                     COVINGTON & BURLING LLP
                                        1999 Avenue of the Stars
 19                                     Los Angeles, CA 90067-6045
                                        Telephone: (424) 332-4800
 20                                     Facsimile: (424) 332-4749
 21                                     nsahni@cov.com

 22                                     Gregg H. Levy (admitted pro hac vice)
                                        Derek Ludwin (admitted pro hac vice)
 23                                     John S. Playforth (admitted pro hac vice)
 24
                                        COVINGTON & BURLING LLP
                                        One CityCenter
 25                                     850 Tenth Street NW
                                        Washington, DC 20001
 26                                     Telephone: (202) 662-6000
                                        Facsimile: (202) 662-6291
 27                                     glevy@cov.com
 28                                     dludwin@cov.com
                                        jplayforth@cov.com
                                           36
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  1
                                             Counsel for Defendants National Football
  2                                          League, NFL Enterprises LLC, and the
                                             Individual NFL Clubs
  3

  4
      All signatories listed, and on whose behalf the filing is submitted, concur in the
  5   filing’s content and have authorized the filing.
  6

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